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                              UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION (KANSAS CITY)

 In re:                                                         Case No. 09-42786-can-13
          ROBERT AINSLEY FERRALL

                      Debtor(s)


           CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Richard V. Fink Trustee, chapter 13 trustee, submits the following Final Report and Account of
 the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


          1) The case was filed on 06/16/2009.

          2) The plan was confirmed on 10/02/2009.

          3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
 NA .

          4) The trustee filed action to remedy default by the debtor in performance under the plan on
 NA .

          5) The case was completed on 08/09/2012.

          6) Number of months from filing to last payment: 38.

          7) Number of months case was pending: 48.

          8) Total value of assets abandoned by court order: NA .

          9) Total value of assets exempted: $50,596.82.

          10) Amount of unsecured claims discharged without payment: $68,701.08.

          11) All checks distributed by the trustee relating to this case have cleared the bank .



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  Receipts:

             Total paid by or on behalf of the debtor            $74,900.00
             Less amount refunded to debtor                      $13,883.13

  NET RECEIPTS:                                                                                  $61,016.87


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                  $2,500.00
     Court Costs                                                                $0.00
     Trustee Expenses & Compensation                                        $2,786.35
     Other                                                                      $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $5,286.35

 Attorney fees paid and disclosed by debtor:                    $500.00


  Scheduled Creditors:
  Creditor                                          Claim       Claim           Claim      Principal      Int.
  Name                                  Class     Scheduled    Asserted        Allowed       Paid         Paid
  CAPIT AL ONE BANK USA NA      Unsecured           7,986.00     6,816.04       6,816.04         0.00        0.00
  CHASE                         Unsecured             100.00          NA             NA          0.00        0.00
  COMMERCE BANK NA              Unsecured          15,681.00    16,546.27      16,546.27         0.00        0.00
  COMMERCE BK                   Unsecured             100.00          NA             NA          0.00        0.00
  ECAST SET T LEMENT CORP       Unsecured          28,327.00    28,327.62      28,327.62         0.00        0.00
  INT ERNAL REVENUE SERVICE     Priority           12,571.00    12,570.26         503.52       503.52        0.00
  JACKSON COUNT Y - MANAGER FIN Priority                 NA        514.82         514.82       514.82        0.00
  MISSOURI DEPART MENT OF REVEN Priority              500.00       344.91         344.91       344.91        0.00
  MISSOURI DEPART MENT OF REVEN Unsecured               0.00        51.30          51.30         0.00        0.00
  NAT IONST AR MORT GAGE LLC    Secured           120,755.32   122,847.77     122,847.77    41,435.53        0.00
  NAT IONST AR MORT GAGE LLC    Secured             3,500.00     3,400.39       3,400.39     3,400.39      494.49
  NAT IONST AR MORT GAGE LLC    Secured             1,072.60     1,126.23       1,126.23     1,126.23        0.00
  PRA RECEIVABLES MANAGEMENT Unsecured             16,759.00    15,680.74      16,759.85         0.00        0.00
  SOUT HWEST NAT IONAL BANK     Secured             7,203.00     7,271.11       7,271.11     7,271.11      639.52




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  Summary of Disbursements to Creditors:
                                                                  Claim          Principal           Interest
                                                               Allowed               Paid               Paid
  Secured Payments:
        Mortgage Ongoing                                  $122,847.77         $41,435.53              $0.00
        Mortgage Arrearage                                  $4,526.62          $4,526.62            $494.49
        Debt Secured by Vehicle                             $7,271.11          $7,271.11            $639.52
        All Other Secured                                       $0.00              $0.00              $0.00
  TOTAL SECURED:                                          $134,645.50         $53,233.26          $1,134.01

  Priority Unsecured Payments:
          Domestic Support Arrearage                            $0.00              $0.00               $0.00
          Domestic Support Ongoing                              $0.00              $0.00               $0.00
          All Other Priority                                $1,363.25          $1,363.25               $0.00
  TOTAL PRIORITY:                                           $1,363.25          $1,363.25               $0.00

  GENERAL UNSECURED PAYMENTS:                              $68,501.08               $0.00              $0.00

 Disbursements:

          Expenses of Administration                              $5,286.35
          Disbursements to Creditors                             $55,730.52

 TOTAL DISBURSEMENTS :                                                                        $61,016.87


         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
 estate has been fully administered, the foregoing summary is true and complete, and all administrative
 matters for which the trustee is responsible have been completed. The trustee requests a final decree be
 entered that discharges the trustee and grants such other relief as may be just and proper.

 Dated: 06/07/2013
                                                By: /s/ Richard V. Fink Trustee
                                                                          Trustee
 STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
 exemption 5 C.F.R. § 1320.4(a)(2) applies.




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